Case 3:16-md-02738-MAS-RLS Document 28951 Filed 01/29/24 Page 1 of 2 PageID: 172149




                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON                                      MDL No. 16-2738 (MAS) (RLS)
     TALCUM    POWDER      PRODUCTS
     MARKETING, SALES PRACTICES, AND
     PRODUCTS LIABILITY LITIGATION




                                                 ORDER

            THIS MATTER having been brought before the Court upon the January 18, 2024 letter,

    (Dkt. No. 28915), Defendants Johnson & Johnson and Johnson & Johnson Consumer Companies,

    Inc., now known as Johnson & Johnson Consumer Inc. (collectively, “Defendants”), regarding the

    length of time that Defendants are to question plaintiffs’ expert witnesses at deposition pursuant to

    the Court’s October 6, 2023 Order, (Dkt. No. 28516); and Plaintiffs’ Steering Committee having

    opposed the request in their January 25, 2024 letter, (Dkt. No. 28939); and the Court having

    considered the submissions of the parties pursuant to Local Civil Rule 37.1 as well as arguments

    of counsel during a hearing held on January 29, 2024; and for the reasons discussed on the record

    during the January 29, 2024 hearing, and for good cause shown,

            IT IS on this 29th day of January 2024, hereby

            ORDERED that Defendants may depose: Dr. Patricia Moorman for no more than a total

    of eight (8) hours; Dr. Daniel Clarke-Pearson for no more than an additional four (4) hours; and

    Dr. Judith Wolf for no more than an additional (2) hours; and it is further

            ORDERED that the parties are directed to meet and confer as to the amount of time for

    future depositions of any experts with consideration of the Court’s October 6, 2023 Order; and it

    is further



                                                     1
Case 3:16-md-02738-MAS-RLS Document 28951 Filed 01/29/24 Page 2 of 2 PageID: 172150




           ORDERED that the deadline by which any depositions of Plaintiffs’ expert witnesses shall

    be completed as set by paragraph 3 of the Court’s October 6, 2023 Order is hereby held in

    ABEYANCE and will be reset by the Court at a later date; and it is further

           ORDERED that the Clerk of Court is directed to TERMINATE the Motion pending at

    Docket Entry Number 28915.

           SO ORDERED.



                                                        ________________________________
                                                        RUKHSANAH L. SINGH
                                                        UNITED STATES MAGISTRATE JUDGE




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